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                  Case: 1:20-cr-00495 Document #: 2 Filed: 08/13/20 Page 1 of 1 PageID Fe
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cd}'                                  aOCR                         49,5                   nffit Dow
                                     UNITED STATES DISTRICT COURT MAGISTRATE JUDGE COIE
                                     NOBTHERN DISTRICT OF ILLINOIS

                          DESIGNATION SHEET FOR CRIMINAL PROCEEDINGS

          1.     Is this an indictment or information arising out of offenses charged. in one or more
          previously-frled complaints signed by a magistrate judge? No (You must answer 1b even if
          the answer is No)

                   1a. If the answer is 'Yes,"      list the   case number and    title of the earliest filed
                   complaint: n/a

                   lb. Should.    this indictment or information recei.ve a new case number from the
                   court? Yes

          2. Is this an indictment or information that supersedes one or more previously-filed
          indictments or informations? No

                  2a. If the answer is 'Yes," Iist the case number and title of the earliest filed
          superseded indictment or information and the name of the assigned jqdge (Local RuIe
          40.3(b)(2): nJa

          3.       Is this a re-fili1g of a previously dismissed indictment or information? No

          4. Is this a case arising out of the failure of the defendant            to appear in a criminal
          proceeding in this Court? No

          5.       Is this a transfer of probation supervision from another district to this District? No

          6.       What level of offense is this indictment or informatio4? Felony

          7   -    Does this indictment or information involve eight or more defendants? No

          8.       Does this indictment or information include a conspiracy count? No

          9. Identify the type of offense that describes the count, other than any-Fra.i
                                                                                   conspiracy cpunt,
          with the most severe penalty: Filing a false tax return tacootO Tax            d ft)
          10.      List the statute of each of the offenses charged in the indictment or information. 26
          u.s.c. s 7206(1)

                                                                lsl Christopher J. Stetler
        FILED                                                  CHRISTOPHER J. STETLER
                                                               Assistant United States Attomey

          AU0     13 2020e
       THOMAS G BRUTON
  CI.ERK U.S. DISTRICT COURT
